Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF OREGON-CH.7

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  04/20
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Shirley
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Jo
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Wilson
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-6605
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 1
                                                Case 21-32277-thp7                Doc 1        Filed 11/11/21
Debtor 1   Shirley Jo Wilson                                                                         Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years
                                 FDBA The Finch Farm Co.
     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names
                                 XX-XXXXXXX
                                 EIN                                                           EIN




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 142 N Hayden Bay Dr.
                                 Portland, OR 97217
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Multnomah
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any               have lived in this district longer than in any other
                                       other district.                                                district.

                                       I have another reason.                                         I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 2
                                              Case 21-32277-thp7                  Doc 1      Filed 11/11/21
Debtor 1    Shirley Jo Wilson                                                                             Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?

                                                         No. Go to line 12.

                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
                                              Case 21-32277-thp7                   Doc 1        Filed 11/11/21
Debtor 1    Shirley Jo Wilson                                                                              Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?

                                      Yes.     Name and location of business

     A sole proprietorship is a
     business you operate as                   Shirley Jo Wilson
     an individual, and is not a               Name of business, if any
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               142 N Hayden Bay Dr.
     If you have more than one                 Portland, OR 97217
     sole proprietorship, use a
     separate sheet and attach                 Number, Street, City, State & ZIP Code
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as          § 1116(1)(B).
    defined by 11 U.S.C. §
    1182(1)?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I do not choose to proceed under Subchapter V of Chapter 11.

                                      Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                               choose to proceed under Subchapter V of Chapter 11.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 4
                                              Case 21-32277-thp7                   Doc 1        Filed 11/11/21
Debtor 1    Shirley Jo Wilson                                                                            Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                             You must check one:
    you have received a                  I received a briefing from an approved credit                   I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                  counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a                this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                      completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment                Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.               any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                   I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                  counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have               this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                    of completion.
     file.
                                         Within 14 days after you file this bankruptcy                   Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and           MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                           any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                    I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                       from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                    those services during the 7 days after I made my
                                         days after I made my request, and exigent                       request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                   temporary waiver of the requirement.
                                         of the requirement.
                                                                                                         To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                     attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining                 to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why               before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for               circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                                 Your case may be dismissed if the court is dissatisfied
                                                                                                         with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                      filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                       If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must           receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.         file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                   copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you               not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                         Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                         cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                   I am not required to receive a briefing about credit
                                         credit counseling because of:                                   counseling because of:

                                               Incapacity.                                                    Incapacity.
                                               I have a mental illness or a mental deficiency                 I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                        makes me incapable of realizing or making rational
                                               making rational decisions about finances.                      decisions about finances.

                                               Disability.                                                    Disability.
                                               My physical disability causes me to be                         My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,                 participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I                through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                     do so.

                                               Active duty.                                                   Active duty.
                                               I am currently on active military duty in a                    I am currently on active military duty in a military
                                               military combat zone.                                          combat zone.
                                         If you believe you are not required to receive a                If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a               about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.             of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 5
                                                Case 21-32277-thp7                    Doc 1        Filed 11/11/21
Debtor 1    Shirley Jo Wilson                                                                             Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.       Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                               individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.       Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                            money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.       State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.    I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                       are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you           50-99                                            5001-10,000                                   50,001-100,000
    owe?
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to                                                          $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?                       $50,001 - $100,000
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Shirley Jo Wilson
                                 Shirley Jo Wilson                                                 Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     11/11/2021                                        Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
                                              Case 21-32277-thp7                  Doc 1         Filed 11/11/21
Debtor 1   Shirley Jo Wilson                                                                              Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Gerald Pederson #96389 for Todd                                Date         11/11/2021
                                Trierweiler
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Gerald Pederson #96389 for Todd Trierweiler
                                Printed name

                                Bankruptcy Law Center, LLC
                                Firm name

                                4721 NE 102nd Ave.
                                Portland, OR 97220
                                Number, Street, City, State & ZIP Code

                                Contact phone     503-253-7777                               Email address         ORecf@bankruptcylawctr.com
                                85348 OR
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
                                                Case 21-32277-thp7               Doc 1        Filed 11/11/21
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     District of Oregon-Ch.7
 In re       Shirley Jo Wilson                                                                                Case No.
                                                                               Debtor(s)                      Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     3,500.00
             Prior to the filing of this statement I have received                                        $                     3,500.00
             Balance Due                                                                                  $                         0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Any matter not covered by the debtor(s) retainer agreement.

                  (If applicable) If the Chapter 7 trustee does not pursue the listed potential preference action, counsel will pursue
                  recovery of claim as exempted. Compensation for this service would be on a contingency basis per separate fee
                  agreement.
                                                                        CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     11/11/2021                                                               /s/ Gerald Pederson #96389 for Todd Trierweiler
     Date                                                                     Gerald Pederson #96389 for Todd Trierweiler
                                                                              Signature of Attorney
                                                                              Bankruptcy Law Center, LLC
                                                                              4721 NE 102nd Ave.
                                                                              Portland, OR 97220
                                                                              503-253-7777 Fax: 503-253-2959
                                                                              ORecf@bankruptcylawctr.com
                                                                              Name of law firm




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                                                   Case 21-32277-thp7           Doc 1        Filed 11/11/21
                                                                 UNITED STATES BANKRUPTCY COURT
                                                                      DISTRICT OF OREGON-CH.7
 In re                                                                      )    Case No.                                     (If Known)
 Shirley Jo Wilson                                                          )
                                                                            )    CHAPTER 7 INDIVIDUAL DEBTOR'S*
                                                                            )    STATEMENT OF INTENTION(S)
 Debtor(s)                                                                  )    PER 11 U.S.C. §521(a)

IMPORTANT NOTICES TO DEBTOR(S):
1.Complete, sign and file this form even if you have no debts secured by property of the estate or personal property subject to unexpired leases. If
creditors are listed, make sure the certificate of service is completed.
2. Failure to perform the intentions as to property stated below within 30 days after the first date set for the Meeting of Creditors
under 11 USC §341(a) may result in relief for the creditor from the Automatic Stay protecting such property.

PART A - Debts secured by property of the estate. (Part A must be fully completed for each debt which is secured by property of the estate. Attach
additional pages is necessary.)


   IF NONE - Check this box.
 Property No. 1
 Creditor's Name:                                                                            Describe Property Securing Debt:
 Toyota Financial Services                                                                   2018 Toyota Rav4 Hybrid
 Property will be (check one):            SURRENDERED                   RETAINED

 If retaining the property, I intend to (check at least one):
      Redeem the property
      Reaffirm the debt
      Other. Explain (for example, avoid lien using 11 USC §522(f)

 Property is (check one):            CLAIMED AS EXEMPT                     NOT CLAIMED AS EXEMPT

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease. Attach additional
pages if necessary.)

   IF NONE - Check this box.
 Property No. 1
 Lessor's Name:                                                      Describe Leased Property:                        Lease will be assumed pursuant to 11 USC
                                                                                                                      §365(p)(2)
                                                                                                                                    YES         NO
            Continuation sheets attached (if any).

 I DECLARE UNDER PENALTY OF PERJURY THAT THE ABOVE                                          I/WE, THE UNDERSIGNED, CERTIFY THAT COPIES OF BOTH THIS
 INDICATES INTENTION AS TO ANY PROPERTY OF MY ESTATE                                        DOCUMENT AND LOCAL FORM #715 WERE SERVED ON ANY
 SECURING A DEBT AND/OR PERSONAL PROPERTY SUBJECT TO                                        CREDITOR NAMED ABOVE.
 AN UNEXPIRED LEASE.
 DATE: 11/11/2021                                                                           DATE: 11/11/2021
                                                                                            /s/ Gerald Pederson #96389 for Todd
 /s/ Shirley Jo Wilson                                                                      Trierweiler                                                85348 OR
 DEBTOR'S SIGNATURE                                                                         DEBTOR OR ATTORNEY'S SIGNATURE                  OSB# (if attorney)


 JOINT DEBTOR'S SIGNATURE (If applicable)                                                   JOINT DEBTOR'S SIGNATURE (If applicable and no attorney)
                                                                                            Gerald Pederson #96389 for Todd Trierweiler
                                                                                            503-253-7777
                                                                                            PRINT OR TYPE SIGNER'S NAME & PHONE NO.
                                                                                            4721 NE 102nd Ave.
                                                                                            Portland, OR 97220
                                                                                            SIGNER'S ADDRESS (if attorney)




521.05 (12/1/16) Page 1
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                                                   Case 21-32277-thp7                  Doc 1       Filed 11/11/21
    NON-JUDICIAL REMEDY WHEN CONSUMER DEBTOR FAILS TO TIMELY PERFORM STATED INTENTIONS
Creditors, see Local Form #715 [attached if this document was served on paper] if you wish information on how to obtain non-judicial
relief from the automatic stay of 11 U.S.C. §362(a) as to your collateral.
                                                        QUESTIONS????
Call an attorney with questions about these procedures or the law. However, only call the debtor's attorney if you have
questions about the debtor's intent as to your collateral.




521.05 (12/1/16) Page 2
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                                                   Case 21-32277-thp7   Doc 1   Filed 11/11/21
 Fill in this information to identify your case:

 Debtor 1                   Shirley Jo Wilson
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF OREGON-CH.7

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              81,280.50

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $              81,280.50

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $              13,500.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             306,102.00


                                                                                                                                     Your total liabilities $               319,602.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                3,328.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                3,323.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
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                                                       Case 21-32277-thp7                            Doc 1            Filed 11/11/21
 Debtor 1      Shirley Jo Wilson                                                          Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                        $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $

       9d. Student loans. (Copy line 6f.)                                                                 $

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$


       9g. Total. Add lines 9a through 9f.                                                           $




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information             page 2 of 2
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                                                   Case 21-32277-thp7             Doc 1         Filed 11/11/21
 Fill in this information to identify your case and this filing:

 Debtor 1                   Shirley Jo Wilson
                            First Name                      Middle Name                       Last Name

 Debtor 2
 (Spouse, if filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:            DISTRICT OF OREGON-CH.7

 Case number                                                                                                                                                Check if this is an
                                                                                                                                                            amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?



 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1      Make:       Toyota                                  Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                       Rav4 Hybrid Limited                                                                                    the amount of any secured claims on Schedule D:
           Model:      Sport                                         Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
           Year:       2018                                          Debtor 2 only                                            Current value of the      Current value of the
           Approximate mileage:                    33k               Debtor 1 and Debtor 2 only                               entire property?          portion you own?
           Other information:                                        At least one of the debtors and another
          FMV per Kelley Blue Book
                                                                     Check if this is community property                              $34,192.00                 $34,192.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $34,192.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.

Official Form 106A/B                                                         Schedule A/B: Property                                                                       page 1
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                                                   Case 21-32277-thp7                        Doc 1             Filed 11/11/21
 Debtor 1       Shirley Jo Wilson                                                                   Case number (if known)

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Household goods and furnishings                                                                                $500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Household electronics and computer                                                                             $750.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    Books: $50
                                    Household decorations: $200                                                                                    $250.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    Drums: $200
                                    Skis and boots: $50
                                    Golf Clubs: $50
                                    Tools: $10
                                    Bicycle: $100                                                                                                  $410.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
        Yes. Describe.....

                                    Smith & Wesson Ladysmith handgun                                                                               $500.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Clothing                                                                                                       $200.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    Jewelry                                                                                                          $50.00



Official Form 106A/B                                                 Schedule A/B: Property                                                            page 2
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                                                   Case 21-32277-thp7               Doc 1     Filed 11/11/21
 Debtor 1         Shirley Jo Wilson                                                                                                Case number (if known)

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                            2 dogs (pets): no cash value                                                                                                       $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                               $2,660.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                Current value of the
                                                                                                                                                            portion you own?
                                                                                                                                                            Do not deduct secured
                                                                                                                                                            claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                      Cash                                     $6.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:

                                                          Checking and                            iQ Credit Union checking #6826-80: $240
                                              17.1.       Savings                                 iQ Credit Union savings #6826-00: $6                                     $246.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                  % of ownership:




Official Form 106A/B                                                                       Schedule A/B: Property                                                              page 3
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                                                               Case 21-32277-thp7                                    Doc 1    Filed 11/11/21
 Debtor 1        Shirley Jo Wilson                                                                       Case number (if known)


                                         The Finch Farm Co. / Retail pet shop
                                         dbas = Savvy Pets for Sale and
                                         TheFinchFarm.Com, Inc.
                                         Debtor is no longer an employee or a corporate
                                         officer. Debtor remains with the company as an
                                         investor.
                                         The business has not removed debtor's name
                                         from the bank accounts, despite debtor's
                                         request to be removed from all bank accounts.
                                         The business closed its doors in October due to
                                         the pandemic.
                                         Assets:
                                         Chase Bank #7936 checking
                                         Chase Bank #0805 checking
                                         Key Bank #5611 checking (signatory)
                                         PayPal - (debtor does not have access to
                                         account information)
                                         50k shares of stock in The Finch Farm Co. (of 1
                                         million shares)                                                        5%         %                   Unknown


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                         Institution name:

                                      IRA                                iQ Credit Union #6826-40: estimate                                  $18,035.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                              Institution name or individual:


                                      Rent / security deposit            Columbia Point West Condominiums /                                      $800.00
                                                                         landlord


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............        Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       No
       Yes. Give specific information about them...
Official Form 106A/B                                                 Schedule A/B: Property                                                          page 4
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                                                   Case 21-32277-thp7                Doc 1      Filed 11/11/21
 Debtor 1       Shirley Jo Wilson                                                                      Case number (if known)


27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
      No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......




                                                         Potential 2021 income tax refunds                   Federal and State                    Unknown


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
        Yes. Give specific information..

                                                      Claim for earned but unpaid wages from The Finch Farm
                                                      2019 & 10/1/2020-10/19/2020 : $5,375
                                                      Repayment for debtor's purchase of a bird for a customer of
                                                      The Finch Farm: $2,455
                                                      Consulting fee owed to debtor by The Finch Farm: $437.50                                    $8,267.50


                                                      Leilani Hernandez, personal loan to former employee
                                                      Loan given in 2019, Ms. Hernandez has made three payments
                                                      at $200 per month for total amount paid of $600. Ms.
                                                      Hernandez stopped making payments on the loan, having
                                                      been told The Finch Farm would reimburse Debtor.                                            $2,400.00


                                                      Claim for personal loan / housing fees for birds against
                                                      Monica Mesa and Abelardo Vilan.                                                           $13,850.00


                                                      Earned but unpaid wages (Safety Systems): $219
                                                      Accounts receivable (Movin In Mavins): $605                                                   $824.00


31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                Beneficiary:                           Surrender or refund
                                                                                                                                     value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
Official Form 106A/B                                                 Schedule A/B: Property                                                             page 5
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                                                   Case 21-32277-thp7               Doc 1     Filed 11/11/21
 Debtor 1         Shirley Jo Wilson                                                                                                     Case number (if known)

        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................         $44,428.50


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                  $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                  $0.00
 56. Part 2: Total vehicles, line 5                                                                           $34,192.00
 57. Part 3: Total personal and household items, line 15                                                       $2,660.00
 58. Part 4: Total financial assets, line 36                                                                  $44,428.50
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $81,280.50              Copy personal property total      $81,280.50

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $81,280.50




Official Form 106A/B                                                               Schedule A/B: Property                                                                       page 6
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                                                          Case 21-32277-thp7                               Doc 1            Filed 11/11/21
 Fill in this information to identify your case:

 Debtor 1                Shirley Jo Wilson
                         First Name                         Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF OREGON-CH.7

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      2018 Toyota Rav4 Hybrid                                        $34,192.00                                  $4,000.00     11 U.S.C. § 522(d)(2)
      Line from Schedule A/B: 3.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      2018 Toyota Rav4 Hybrid                                        $34,192.00                                $13,900.00      11 U.S.C. § 522(d)(5)
      Line from Schedule A/B: 3.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Household goods and furnishings                                     $500.00                                  $500.00     11 U.S.C. § 522(d)(3)
      Line from Schedule A/B: 6.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Household electronics and computer                                  $750.00                                  $750.00     11 U.S.C. § 522(d)(3)
      Line from Schedule A/B: 7.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Books: $50                                                          $250.00                                  $250.00     11 U.S.C. § 522(d)(3)
      Household decorations: $200
      Line from Schedule A/B: 8.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 3
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                                                   Case 21-32277-thp7                   Doc 1        Filed 11/11/21
 Debtor 1    Shirley Jo Wilson                                                                           Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Drums: $200                                                         $410.00                                      $0.00       11 U.S.C. § 522(d)(5)
     Skis and boots: $50
     Golf Clubs: $50                                                                       100% of fair market value, up to
     Tools: $10                                                                            any applicable statutory limit
     Bicycle: $100
     Line from Schedule A/B: 9.1

     Drums: $200                                                         $410.00                                   $200.00        11 U.S.C. § 522(d)(3)
     Skis and boots: $50
     Golf Clubs: $50                                                                       100% of fair market value, up to
     Tools: $10                                                                            any applicable statutory limit
     Bicycle: $100
     Line from Schedule A/B: 9.1

     Smith & Wesson Ladysmith handgun                                    $500.00                                      $0.00       11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 10.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Clothing                                                            $200.00                                   $200.00        11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Jewelry                                                              $50.00                                    $50.00        11 U.S.C. § 522(d)(4)
     Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     2 dogs (pets): no cash value                                           $0.00                                  $200.00        11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 13.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash                                                                   $6.00                                     $0.00       11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking and Savings: iQ Credit                                     $246.00                                      $0.00       11 U.S.C. § 522(d)(5)
     Union checking #6826-80: $240
     iQ Credit Union savings #6826-00: $6                                                  100% of fair market value, up to
     Line from Schedule A/B: 17.1                                                          any applicable statutory limit

     IRA: iQ Credit Union #6826-40:                                  $18,035.00                                       100%        11 U.S.C. § 522(d)(12)
     estimate
     Line from Schedule A/B: 21.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Federal and State: Potential 2021                                Unknown                                         $0.00       11 U.S.C. § 522(d)(5)
     income tax refunds
     Line from Schedule A/B: 28.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
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                                                   Case 21-32277-thp7                   Doc 1        Filed 11/11/21
 Debtor 1    Shirley Jo Wilson                                                                           Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Claim for earned but unpaid wages                                $8,267.50                                       $0.00       11 U.S.C. § 522(d)(5)
     from The Finch Farm 2019 &
     10/1/2020-10/19/2020 : $5,375                                                         100% of fair market value, up to
     Repayment for debtor's purchase of                                                    any applicable statutory limit
     a bird for a customer of The Finch
     Farm: $2,455
     Consulting fee owed to debtor by
     The Finch Farm: $437.50
     Line from Schedule A/B: 30.1

     Leilani Hernandez, personal loan to                              $2,400.00                                       $0.00       11 U.S.C. § 522(d)(5)
     former employee
     Loan given in 2019, Ms. Hernandez                                                     100% of fair market value, up to
     has made three payments at $200 per                                                   any applicable statutory limit
     month for total amount paid of $600.
     Ms. Hernandez stopped making
     payments on the loan, having been
     told The Finch Farm would reimbur
     Line from Schedule A/B: 30.2

     Claim for personal loan / housing                               $13,850.00                                       $0.00       11 U.S.C. § 522(d)(5)
     fees for birds against Monica Mesa
     and Abelardo Vilan.                                                                   100% of fair market value, up to
     Line from Schedule A/B: 30.3                                                          any applicable statutory limit

     Earned but unpaid wages (Safety                                     $824.00                                      $0.00       11 U.S.C. § 522(d)(5)
     Systems): $219
     Accounts receivable (Movin In                                                         100% of fair market value, up to
     Mavins): $605                                                                         any applicable statutory limit
     Line from Schedule A/B: 30.4


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 3
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                                                   Case 21-32277-thp7                   Doc 1        Filed 11/11/21
 Fill in this information to identify your case:

 Debtor 1                   Shirley Jo Wilson
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF OREGON-CH.7

 Case number
 (if known)                                                                                                                                         Check if this is an
                                                                                                                                                    amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                              Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As     Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                    Do not deduct the      that supports this      portion
                                                                                                              value of collateral.   claim                   If any
         Toyota Financial
 2.1                                                                                                              $13,500.00               $34,192.00                     $0.00
         Services                                 Describe the property that secures the claim:
         Creditor's Name                          2018 Toyota Rav4 Hybrid

         POB 5855
                                                  As of the date you file, the claim is: Check all that
         Carol Stream, IL                         apply.
         60197-5855                                   Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred          9/2018                    Last 4 digits of account number        1216


   Add the dollar value of your entries in Column A on this page. Write that number here:                                  $13,500.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                 $13,500.00

 Part 2:       List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                        page 1 of 1
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                                                   Case 21-32277-thp7                       Doc 1           Filed 11/11/21
 Fill in this information to identify your case:

 Debtor 1                     Shirley Jo Wilson
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                DISTRICT OF OREGON-CH.7

 Case number
 (if known)                                                                                                                                              Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim           Priority           Nonpriority
                                                                                                                                              amount             amount
 2.1          Clark County                                           Last 4 digits of account number                                  $0.00              $0.00                 $0.00
              Priority Creditor's Name
              1300 Franklin St., Second Flr.                         When was the debt incurred?
              Vancouver, WA 98660
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        business debt / precautionary

 2.2          Idaho State Tax Commission                             Last 4 digits of account number                                  $0.00              $0.00                 $0.00
              Priority Creditor's Name
              11321 W. Chindin Blvd.                                 When was the debt incurred?
              Garden City, ID 83714
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        business / precautionary


Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 1 of 43
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                                                   Case 21-32277-thp7                         Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                                Case number (if known)

 2.3      IRS                                                        Last 4 digits of account number                               $0.00   $0.00              $0.00
          Priority Creditor's Name
          POB 7346                                                   When was the debt incurred?
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           precautionary

 2.4      ODR-Bankruptcy                                             Last 4 digits of account number                               $0.00   $0.00              $0.00
          Priority Creditor's Name
          c/o Bankruptcy Unit                                        When was the debt incurred?
          955 Center Street, NE Room 353
          Salem, OR 97301-2555
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           precautionary

 2.5      ODR-Bankruptcy                                             Last 4 digits of account number                               $0.00   $0.00              $0.00
          Priority Creditor's Name
          c/o Bankruptcy Unit                                        When was the debt incurred?
          955 Center Street, NE Room 353
          Salem, OR 97301-2555
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           business / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 2 of 43
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                                                   Case 21-32277-thp7                         Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                                Case number (if known)

 2.6        State of California                                      Last 4 digits of account number                               $0.00                  $0.00                  $0.00
            Priority Creditor's Name
            Franchise Tax Board                                      When was the debt incurred?
            POB 9428401
            Sacramento, CA 94240-0001
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                          business / precautionary

 2.7        State of Nevada                                          Last 4 digits of account number                               $0.00                  $0.00                  $0.00
            Priority Creditor's Name
            101 N. Carson Ct., Suite 3                               When was the debt incurred?
            Carson City, NV 89701-3714
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                          business / precautionary

            Washington State Dept. of
 2.8        Revenue                                                  Last 4 digits of account number                               $0.00                  $0.00                  $0.00
            Priority Creditor's Name
            POB 47476                                                When was the debt incurred?
            Olympia, WA 98504-7476
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                          business / precautionary


 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of


Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 3 of 43
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                                                    Case 21-32277-thp7                        Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

       Part 2.
                                                                                                                                                        Total claim

 4.1        Adlog Tech                                               Last 4 digits of account number                                                                      $0.00
            Nonpriority Creditor's Name
            4008 SE 113th Ave.                                       When was the debt incurred?
            Portland, OR 97266
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                 Debtor 1 only                                          Contingent
                 Debtor 2 only                                          Unliquidated
                 Debtor 1 and Debtor 2 only                             Disputed
                 At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                  Student loans
            debt                                                        Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

                 No                                                     Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                    Other. Specify   business / precautionary


 4.2        Alaska Air Cargo                                         Last 4 digits of account number                                                                      $0.00
            Nonpriority Creditor's Name
            4100 Old International Airport Rd.                       When was the debt incurred?
            Anchorage, AK 99502
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                 Debtor 1 only                                          Contingent
                 Debtor 2 only                                          Unliquidated
                 Debtor 1 and Debtor 2 only                             Disputed
                 At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                  Student loans
            debt                                                        Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

                 No                                                     Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                    Other. Specify   business / precautionary


 4.3        Alexandra Vidal                                          Last 4 digits of account number                                                                      $0.00
            Nonpriority Creditor's Name
            12460 NW Millford                                        When was the debt incurred?
            Portland, OR 97229
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                 Debtor 1 only                                          Contingent
                 Debtor 2 only                                          Unliquidated
                 Debtor 1 and Debtor 2 only                             Disputed
                 At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                  Student loans
            debt                                                        Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

                 No                                                     Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                    Other. Specify   business / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 4 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.4      American Air Cargo                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          23703-C Air Freight Ln.                                    When was the debt incurred?
          Cargo Bldg. 6
          Dulles, VA 20166
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.5      Animal Genetics, Inc.                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3382 Capital Cir. NE                                       When was the debt incurred?
          Tallahassee, FL 32308
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.6      Apple, Inc.                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          One Apple Park Way                                         When was the debt incurred?
          Cupertino, CA 95014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.7      AT&T                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          208 S. Akerd St.                                           When was the debt incurred?
          Dallas, TX 75202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.8      Avalara                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          255 S. King St., #1800                                     When was the debt incurred?
          Seattle, WA 98104
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.9      Bank of America                                            Last 4 digits of account number       9168                                             $3,000.00
          Nonpriority Creditor's Name
          POB 851001                                                 When was the debt incurred?
          Dallas, TX 75285
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 6 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.1
 0        Basecamp                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          30 N. Racine Ave., #200                                    When was the debt incurred?
          Chicago, IL 60607
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.1
 1        Better Business Bureau NW                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12639 W. Explorer Dr., #200                                When was the debt incurred?
          Boise, ID 83713-1873
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.1
 2        Big Commerce                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11305 Four Points Dr.                                      When was the debt incurred?
          Bldg. 11, Third Floor
          Austin, TX 78726
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 7 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.1
 3        Bill.com                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6220 American Ctr. Dr., #100                               When was the debt incurred?
          San Jose, CA 95002
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business precautionary


 4.1      Birdsnow.com / EquineNow.com,
 4        LLC                                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          345 S. Coast Hwy. 101, Suite M2                            When was the debt incurred?
          Encinitas, CA 92024
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.1
 5        Biz Filings                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8020 Excelsior Dr., #200                                   When was the debt incurred?
          Madison, WI 53717
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 8 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.1
 6        BLN monday.com                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          34 W. 14th St., Frnt 2                                     When was the debt incurred?
          New York, NY 10011-7508
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.1
 7        Bluezoo Aquatics                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11887 Prairie Ave.                                         When was the debt incurred?
          Hawthorne, CA 90250
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.1
 8        Boardsi.com                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5272 Robert J. Mathews Pkwy.                               When was the debt incurred?
          El Dorado Hills, CA 95762
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 9 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.1
 9        Braintree by PayPal                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          222 W. Merchandise Mart Plaza                              When was the debt incurred?
          Suite 800
          Chicago, IL 60654
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.2
 0        Chabad of Clark County                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9604 NE 126th Ave., #2340                                  When was the debt incurred?
          Vancouver, WA 98682
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.2
 1        Chase Bank                                                 Last 4 digits of account number       5542                                           $50,000.00
          Nonpriority Creditor's Name
          POB 6185                                                   When was the debt incurred?
          Westerville, OH 43086
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / credit card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 10 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.2
 2        Chase Bank                                                 Last 4 digits of account number       3485                                           $38,000.00
          Nonpriority Creditor's Name
          POB 6185                                                   When was the debt incurred?
          Westerville, OH 43086
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / credit card


 4.2
 3        Chase Bank                                                 Last 4 digits of account number       1031                                             Unknown
          Nonpriority Creditor's Name
          POB 6185                                                   When was the debt incurred?
          Westerville, OH 43086
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / business loan


 4.2
 4        Christine Shiels                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8902 W. Dulcimer St.                                       When was the debt incurred?
          Boise, ID 83709
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 11 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.2
 5        Chubb Insurance                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          150 Allen Rd., #203                                        When was the debt incurred?
          Basking Ridge, NJ 07920
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.2
 6        Cindy Spiess / Cat Utopia                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          POB 1088                                                   When was the debt incurred?
          Pendleton, OR 97801
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.2
 7        City of Vancouver / Fire Marshall                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          POB 1995                                                   When was the debt incurred?
          Vancouver, WA 98668-1995
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 12 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.2
 8        Clark County PUD                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          POB 8900                                                   When was the debt incurred?
          Vancouver, WA 98668
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.2
 9        Comcast                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7809 NE Vancouver Plaza Dr., #135                          When was the debt incurred?
          Vancouver, WA 98662
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.3
 0        Conway Law, LLC                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1014 Franklin St.                                          When was the debt incurred?
          Vancouver, WA 98660
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 13 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.3
 1        Cre8 Wealth, LLC                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16617 SE Eastview Ct.                                      When was the debt incurred?
          Portland, OR 97236
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.3
 2        Custom Courier                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6601 NE 78th Ct., Suite A14                                When was the debt incurred?
          Portland, OR 97218
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.3
 3        David A Torkko, DC                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          113 Willow Point Loop                                      When was the debt incurred?
          Longview, WA 98632
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 14 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.3
 4        David Kelly Austreng                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12460 NW Millford                                          When was the debt incurred?
          Portland, OR 97229
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.3
 5        Davidson & Associates, Inc.                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11112 NE 51st Cir.                                         When was the debt incurred?
          Vancouver, WA 98682
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.3
 6        Delta Cargo                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          POB 20559                                                  When was the debt incurred?
          Dept. 670
          Atlanta, GA 30320-2559
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 15 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.3
 7        Eric & Marla Hansen                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          113 Cassin Ct.                                             When was the debt incurred?
          Folsom, CA 95630
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.3
 8        FedEx Corporation                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          942 S. Shady Grove Rd.                                     When was the debt incurred?
          Memphis, TN 38120
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.3
 9        Fiverr                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8 Eliezer Kaplan St.                                       When was the debt incurred?
          Tel Aviv L3, 6473409
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 16 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.4
 0        Gerald Hunter                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2203 NE 170th Ave.                                         When was the debt incurred?
          Vancouver, WA 98684
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.4
 1        Godaddy.com LLC                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14455 N. Hayden Rd.                                        When was the debt incurred?
          Scottsdale, AZ 85260
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.4
 2        Google Adwords                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1600 Amphitheater Pkwy.                                    When was the debt incurred?
          Mountain View, CA 94043
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 17 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.4
 3        Gusto                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          525 20th St.                                               When was the debt incurred?
          San Francisco, CA 94107
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.4
 4        Hickory Hollow Rentals                                     Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          245 Heritage Park Dr.                                      When was the debt incurred?
          Murfreesboro, TN 37129-1557
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / business loan


 4.4
 5        Horizon Micro Environments                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          133 Bowen Farm Rd.                                         When was the debt incurred?
          Crawford, GA 30630
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 18 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.4
 6        HP Instant Ink                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1501 Page Mill Rd.                                         When was the debt incurred?
          Palo Alto, CA 94304
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.4
 7        IgniteSpot                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1188 Sportsplex Dr., #203                                  When was the debt incurred?
          Kaysville, UT 84037
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.4
 8        Indeed                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7501 N. Capitol of TX Hwy.                                 When was the debt incurred?
          Austin, TX 78731
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 19 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.4
 9        International Pet & Supply                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2550 Rosemead Blvd.                                        When was the debt incurred?
          South El Monte, CA 91733
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.5
 0        Intuit Quickbooks Online                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5601 Headquarters Dr.                                      When was the debt incurred?
          Plano, TX 75024
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.5
 1        Irongate Storage                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          22250 E. 5th St.                                           When was the debt incurred?
          Vancouver, WA 98661
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 20 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.5
 2        J2 Onebox                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6922 Hollywood Blvd., #500                                 When was the debt incurred?
          Los Angeles, CA 90028-6125
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.5
 3        Jane Owens                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          400 Circle W Ranch Rd.                                     When was the debt incurred?
           TX 78678
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.5
 4        John E. Aeschliman                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          201 Aeschliman Rd.                                         When was the debt incurred?
          Colfax, WA 99111
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 21 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.5
 5        Jud Witherspoon                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15820 NW Fair Acres Dr.                                    When was the debt incurred?
          Vancouver, WA 98685
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.5
 6        Katereena Klein                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          80 Huntington St.                                          When was the debt incurred?
          Huntington Beach, CA 92648
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.5
 7        Key Bank                                                   Last 4 digits of account number       1341                                           $11,000.00
          Nonpriority Creditor's Name
          4910 Tiedeman Rd.                                          When was the debt incurred?
          Cleveland, OH 44144
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / credit card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 22 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.5
 8        L&M Handwarmers                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          55 Loockerman Plaza                                        When was the debt incurred?
          Dover, DE 19903
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.5
 9        L&M Leg Bands                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          POB 2943                                                   When was the debt incurred?
          San Bernardino, CA 92406
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.6
 0        Labuyo USA Corp.                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Attn: Rene Rizal                                           When was the debt incurred?
          17820 La Bonita Cir.
          Cerritos, CA 90037
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 23 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.6
 1        Lee Mar Pet Supplies                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2459 Dogwood Way                                           When was the debt incurred?
          Vista, CA 92081
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.6
 2        Liveplan Palo Alto Software, Inc.                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          44 W. Broadway, Suite 426                                  When was the debt incurred?
          Eugene, OR 97401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.6
 3        Magnolia Bird Farm                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12200 Magnolia Ave.                                        When was the debt incurred?
          Riverside, CA 92503
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 24 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.6
 4        Mailchimp                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          675 Ponce De Leon Ave. NE                                  When was the debt incurred?
          Suite 5000
          Atlanta, GA 30308
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.6
 5        Mark Monaldi                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17510 Young Ave.                                           When was the debt incurred?
          Port Charlotte, FL 33948
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.6
 6        Morning Bird Products                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16120 Caputo Dr., Suite A                                  When was the debt incurred?
          Morgan Hill, CA 95037
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 25 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.6
 7        NW Natural Gas                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11218 NE 66th St.                                          When was the debt incurred?
          Vancouver, WA 98662
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.6
 8        NY Bird Supply                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3505 Rombouts Ave.                                         When was the debt incurred?
          Bronx, NY 10475
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.6
 9        Ordoro                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          815 Brazos St., #900                                       When was the debt incurred?
          Austin, TX 78701
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 26 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.7
 0        Pacific NW Buildings                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          53683 Columbia River Hwy.                                  When was the debt incurred?
          Scappoose, OR 97056
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.7
 1        Paychex, Inc.                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          911 Panorama Trail South                                   When was the debt incurred?
          Rochester, NY 14625
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.7
 2        PayPal, Inc.                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Attn: Legal Dept.                                          When was the debt incurred?
          2211 N. First St.
          San Jose, CA 95131
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 27 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.7
 3        PayWhirl                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9452 Telephone Rd., #140                                   When was the debt incurred?
          Ventura, CA 93004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.7
 4        Perkins Coie                                               Last 4 digits of account number       7731                                           $30,035.00
          Nonpriority Creditor's Name
          POB 24643                                                  When was the debt incurred?
          Attn: Client Accounting
          Seattle, WA 98124-0643
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / legal fees


 4.7
 5        Pet Supplies, Inc.                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3150 Route 35                                              When was the debt incurred?
          Hazlet, NJ 07730-1520
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 28 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.7
 6        Pet Warehouse & Supplies                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          177 Glen Cove Rd.                                          When was the debt incurred?
          Carle Place, NY 11514-1236
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.7
 7        Philadelphia Insurance Co.                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          c/o Capital Premium                                        When was the debt incurred?
          POB 660232
          Dallas, TX 75266-0232
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.7
 8        Philip & Kristie Gold                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3402 SE Northwood Way                                      When was the debt incurred?
          Hillsboro, OR 97123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 29 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.7
 9        PIP Printing                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1099 Main St.                                              When was the debt incurred?
          Vancouver, WA 98660
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.8
 0        Podium.com                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3401 Thanksgiving Way, #250                                When was the debt incurred?
          Lehi, UT 84043
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.8
 1        Prevue Pet Products                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          224 N. Maplewood Ave.                                      When was the debt incurred?
          Chicago, IL 60612
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 30 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.8
 2        Privy.com                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          38 Chauncy St.                                             When was the debt incurred?
          Boston, MA 02111
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.8
 3        PUD of Cowlitz County                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          961 12th Ave.                                              When was the debt incurred?
          Longview, WA 98632
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.8
 4        Rewind for Big Commerce                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9-2020 Lanthier Dr., #120                                  When was the debt incurred?
          Orleans. Ottawa K4A 3V4
          Canada
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 31 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.8
 5        Ring Central                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          20 Davis Dr.                                               When was the debt incurred?
          Belmont, CA 94002
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.8
 6        Rob Wassom                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15012 NE 69th St.                                          When was the debt incurred?
          Vancouver, WA 98682
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.8
 7        Robin & Torry Austreng                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          142 Lenora Ln.                                             When was the debt incurred?
          Kelso, WA 98626
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 32 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.8
 8        Rocket Lawyer                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          182 Howard St., #830                                       When was the debt incurred?
          San Francisco, CA 94105
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.8
 9        Rolf C. Hagen Co.                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          305 Forbes Blvd.                                           When was the debt incurred?
          Mansfield, MA 02048
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.9
 0        SBA Term Loan                                              Last 4 digits of account number       8004                                          $160,000.00
          Nonpriority Creditor's Name
          Office of Disaster Assistance                              When was the debt incurred?
          14925 Kingsport Rd.
          Fort Worth, TX 76155
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / economic disaster loans




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 33 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.9
 1        Scottish Fold USA / catsdogs.us                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Attn: Kir Karimov                                          When was the debt incurred?
          18 Bauer Ave.
          Manorville, NY 11949-2541
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.9
 2        Serpspace                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          99 Fanshore Dr.                                            When was the debt incurred?
          Woodbridge, ON, L4H 1T5
          Canada
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.9
 3        Shane Spiess                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          POB 1088                                                   When was the debt incurred?
          Pendleton, OR 97801
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 34 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.9
 4        Shannon Roberts                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          327 NE Wedgewood Ct.                                       When was the debt incurred?
          Camas, WA 98607
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.9
 5        Shutterstock                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          60 Broad St., 30th Flr.                                    When was the debt incurred?
          New York, NY 10004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.9
 6        Sierra Springs Water Service                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13233 NE Jarrett St.                                       When was the debt incurred?
          Portland, OR 97230
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 35 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.9
 7        Sococo.com                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          401 Congress Ave., #2650                                   When was the debt incurred?
          Austin, TX 78701
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.9
 8        Sprout Social                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          131 S. Dearborn St., # 700                                 When was the debt incurred?
          Chicago, IL 60603
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.9
 9        Strictly Reptiles, Inc.                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6450 Stirling Rd.                                          When was the debt incurred?
          Hollywood, FL 33024
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 36 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.1
 00       Stripe Merchant Services                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          185 Berry St., #550                                        When was the debt incurred?
          San Francisco, CA 94107
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.1
 01       Talis US                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10115 NE Glisan St.                                        When was the debt incurred?
          Portland, OR 97220
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.1
 02       The Finch Farm Co.                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5305 NE 121st Ave., Suite 203                              When was the debt incurred?
          Vancouver, WA 98682-6202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 37 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.1
 03       The Vancouver Clinic                                       Last 4 digits of account number       0324                                                 $67.00
          Nonpriority Creditor's Name
          POB 4195                                                   When was the debt incurred?
          Portland, OR 97208-4195
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   medical services


 4.1
 04       Twin Beaks Aviary                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7341 Fox Rd.                                               When was the debt incurred?
          Gratiot, WI 53541-9645
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.1
 05       Uline                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12575 Uline Dr.                                            When was the debt incurred?
          Pleasant Prairie, WI 53158
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 38 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.1
 06       United Cargo                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          900 Grand Plaza Dr.                                        When was the debt incurred?
          Houston, TX 77067
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.1
 07       USDA                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1400 Independence Ave.                                     When was the debt incurred?
          Washington, DC 20250
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.1
 08       USPS Headquarters                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          475 L'Enfant Plaza SW                                      When was the debt incurred?
          Washington, DC 20590
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 39 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.1
 09       Waste Connections Inc.                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12115 N.E. 99th Street #1830                               When was the debt incurred?
          Vancouver, WA 98682
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.1
 10       Wells Fargo                                                Last 4 digits of account number       5372                                           $14,000.00
          Nonpriority Creditor's Name
          420 Montgomery St.                                         When was the debt incurred?
          San Francisco, CA 94104
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / line of credit


 4.1
 11       Wells Fargo / Apple Lease                                  Last 4 digits of account number       2001                                                   $0.00
          Nonpriority Creditor's Name
          5000 Riverside Dr., Suite 300 East                         When was the debt incurred?
          Irving, TX 75039-4314
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 40 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.1
 12       West Coast Seed                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14652 SE 82nd Dr.                                          When was the debt incurred?
          Clackamas, OR 97015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.1
 13       Wickr Inc.                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          647 Shotwell St., #2                                       When was the debt incurred?
          San Francisco, CA 94110
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.1
 14       Wufoo.com                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          POB 327                                                    When was the debt incurred?
          Tampa, FL 33626
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 41 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 4.1
 15        Zapier, Inc.                                              Last 4 digits of account number                                                              $0.00
           Nonpriority Creditor's Name
           548 Market St., #62411                                    When was the debt incurred?
           San Francisco, CA 94104-5401
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt / precautionary


 4.1
 16        Zendesk, ZD Sell, ZD Chat                                 Last 4 digits of account number                                                              $0.00
           Nonpriority Creditor's Name
           989 Market St.                                            When was the debt incurred?
           San Francisco, CA 94103
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary


 4.1
 17        Zowta LLC dba Shipper HQ                                  Last 4 digits of account number                                                              $0.00
           Nonpriority Creditor's Name
           4801 SW Parkway, Bldg. 2                                  When was the debt incurred?
           Suite 240
           Austin, TX 78735
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business / precautionary

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 42 of 43
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                                                   Case 21-32277-thp7                      Doc 1          Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                                              Case number (if known)

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AT&T Corp.                                                    Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 CT Corporation System, RA                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 780 Commerical St. SE, #100
 Salem, OR 97301-3465
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Professional Credit Services                                  Line 4.103 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 POB 7548                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Eugene, OR 97401
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 The City of Vancouver                                         Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 POB 1955                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Vancouver, WA 98668-1995
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Waste Connections, Inc.                                       Line 4.109 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 POB 148                                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Kelso, WA 98626
                                                               Last 4 digits of account number


 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                  306,102.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                  306,102.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 43 of 43
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                                                   Case 21-32277-thp7                       Doc 1          Filed 11/11/21
 Fill in this information to identify your case:

 Debtor 1                  Shirley Jo Wilson
                           First Name                         Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               DISTRICT OF OREGON-CH.7

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       Amazon Prime                                                               Streaming services. Debtor does not intend to terminate
               1260 Mercer St.                                                            the agreement.
               Seattle, WA 98109

     2.2       Columbia Point                                                             Rental lease on residential unit through 2/2021. Rent is
               N. Hayden Bay                                                              current and debtor does not intend to terminate the
               Portland, OR 97217                                                         agreement.

     2.3       Comcast                                                                    Internet and cable services. Debtor does not intend to
               POB 34744                                                                  terminate the agreement.
               Seattle, WA 98124-1227

     2.4       Delta Management                                                           Business space lease, the Finch Farm.
               Asahar Sadri
               203 E. Reserve St.
               Vancouver, WA 98661

     2.5       Netflix, Inc.                                                              Streaming services. Debtor does not intend to terminate
               5808 Sunset Blvd., 11th Flr.                                               the agreement.
               Los Angeles, CA 90028




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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                                                     Case 21-32277-thp7             Doc 1         Filed 11/11/21
 Fill in this information to identify your case:

 Debtor 1                     Shirley Jo Wilson
                              First Name                          Middle Name          Last Name

 Debtor 2
 (Spouse if, filing)          First Name                          Middle Name          Last Name


 United States Bankruptcy Court for the:                   DISTRICT OF OREGON-CH.7

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                            12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                       No
                       Yes.


                         In which community state or territory did you live?           -NONE-          . Fill in the name and current address of that person.


                         Name of your spouse, former spouse, or legal equivalent
                         Number, Street, City, State & Zip Code

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:


    3.1         The Finch Farm Co.                                                                       Schedule D, line
                5305 NE 121st Ave., Suite 203                                                            Schedule E/F, line         4.21
                Vancouver, WA 98682-6202
                                                                                                         Schedule G
                                                                                                       Chase Bank



    3.2         The Finch Farm Co.                                                                       Schedule D, line
                5305 NE 121st Ave., Suite 203                                                            Schedule E/F, line         4.22
                Vancouver, WA 98682-6202
                                                                                                         Schedule G
                                                                                                       Chase Bank




Official Form 106H                                                                 Schedule H: Your Codebtors                                    Page 1 of 16
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                                                        Case 21-32277-thp7             Doc 1       Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                         Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.3      The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.57
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Key Bank



    3.4      The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.110
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Wells Fargo



    3.5      The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.90
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         SBA Term Loan



    3.6      The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.23
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Chase Bank



    3.7      The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line  4.44
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Hickory Hollow Rentals



    3.8      The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.8
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Avalara



    3.9      The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.32
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Custom Courier



    3.10     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line 4.35
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Davidson & Associates, Inc.




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 2 of 16
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                                                   Case 21-32277-thp7    Doc 1     Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                         Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.11     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line   4.77
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Philadelphia Insurance Co.



    3.12     The Finch Farm Co.                                                             Schedule D, line
             5305 NE 121st Ave., Suite 203                                                  Schedule E/F, line   4.47
             Vancouver, WA 98682-6202
                                                                                            Schedule G
                                                                                         IgniteSpot



    3.13     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.107
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         USDA



    3.14     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.36
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Delta Cargo



    3.15     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.2
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Alaska Air Cargo



    3.16     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.4
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         American Air Cargo



    3.17     The Finch Farm Co.                                                             Schedule D, line
             5305 NE 121st Ave., Suite 203                                                  Schedule E/F, line   4.52
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         J2 Onebox



    3.18     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line  4.116
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Zendesk, ZD Sell, ZD Chat




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 3 of 16
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                                                   Case 21-32277-thp7    Doc 1     Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                         Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.19     The Finch Farm Co.                                                             Schedule D, line
             5305 NE 121st Ave., Suite 203                                                  Schedule E/F, line  4.62
             Vancouver, WA 98682-6202
                                                                                            Schedule G
                                                                                         Liveplan Palo Alto Software, Inc.



    3.20     The Finch Farm Co.                                                             Schedule D, line
             5305 NE 121st Ave., Suite 203                                                  Schedule E/F, line  4.50
             Vancouver, WA 98682-6202
                                                                                            Schedule G
                                                                                         Intuit Quickbooks Online



    3.21     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.1
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Adlog Tech



    3.22     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line  4.11
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Better Business Bureau NW



    3.23     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.64
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Mailchimp



    3.24     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line  4.83
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         PUD of Cowlitz County



    3.25     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line  4.87
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Robin & Torry Austreng



    3.26     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.74
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Perkins Coie




Official Form 106H                                                   Schedule H: Your Codebtors                               Page 4 of 16
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                                                   Case 21-32277-thp7    Doc 1     Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                         Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.27     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line 4.109
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Waste Connections Inc.



    3.28     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.28
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Clark County PUD



    3.29     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.55
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Jud Witherspoon



    3.30     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.106
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         United Cargo



    3.31     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.86
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Rob Wassom



    3.32     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.29
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Comcast



    3.33     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.67
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         NW Natural Gas



    3.34     The Finch Farm Co.                                                             Schedule D, line
             5305 NE 121st Ave., Suite 203                                                  Schedule E/F, line 4.100
             Vancouver, WA 98682-6202
                                                                                            Schedule G
                                                                                         Stripe Merchant Services




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 5 of 16
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                                                   Case 21-32277-thp7    Doc 1     Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                         Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.35     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.19
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Braintree by PayPal



    3.36     The Finch Farm Co.                                                             Schedule D, line
             5305 NE 121st Ave., Suite 203                                                  Schedule E/F, line 2.2
             Vancouver, WA 98682-6202
                                                                                            Schedule G
                                                                                         Idaho State Tax Commission



    3.37     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line 2.8
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Washington State Dept. of Revenue



    3.38     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    2.6
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         State of California



    3.39     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    2.5
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         ODR-Bankruptcy



    3.40     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    2.7
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         State of Nevada



    3.41     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.10
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Basecamp



    3.42     The Finch Farm Co.                                                            Schedule D, line
             dba Savvy Pets for Sale                                                       Schedule E/F, line    4.7
             5305 NE 121st Ave., Suite 203
                                                                                           Schedule G
             Vancouver, WA 98682-6202
                                                                                         AT&T




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 6 of 16
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                                                   Case 21-32277-thp7    Doc 1     Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                         Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.43     The Finch Farm Co.                                                             Schedule D, line
             5305 NE 121st Ave., Suite 203                                                  Schedule E/F, line   4.15
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Biz Filings



    3.44     The Finch Farm Co.                                                             Schedule D, line
             5305 NE 121st Ave., Suite 203                                                  Schedule E/F, line   4.27
             Vancouver, WA 98682-6202
                                                                                            Schedule G
                                                                                         City of Vancouver / Fire Marshall



    3.45     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.25
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Chubb Insurance



    3.46     The Finch Farm Co.                                                             Schedule D, line
             5305 NE 121st Ave., Suite 203                                                  Schedule E/F, line   4.48
             Vancouver, WA 98682-6202
                                                                                            Schedule G
                                                                                         Indeed



    3.47     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line  4.66
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Morning Bird Products



    3.48     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.30
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Conway Law, LLC



    3.49     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.79
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         PIP Printing



    3.50     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.112
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         West Coast Seed




Official Form 106H                                                   Schedule H: Your Codebtors                               Page 7 of 16
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                                                   Case 21-32277-thp7    Doc 1     Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                         Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.51     The Finch Farm Co.                                                             Schedule D, line
             5305 NE 121st Ave., Suite 203                                                  Schedule E/F, line   4.51
             Vancouver, WA 98682-6202
                                                                                            Schedule G
                                                                                         Irongate Storage



    3.52     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.85
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Ring Central



    3.53     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.12
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Big Commerce



    3.54     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.69
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Ordoro



    3.55     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line 4.117
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Zowta LLC dba Shipper HQ



    3.56     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.40
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Gerald Hunter



    3.57     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line   4.26
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Cindy Spiess / Cat Utopia



    3.58     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line   4.111
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Wells Fargo / Apple Lease




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 8 of 16
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                                                   Case 21-32277-thp7    Doc 1     Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                         Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.59     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line 4.45
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Horizon Micro Environments



    3.60     The Finch Farm Co.                                                             Schedule D, line
             5305 NE 121st Ave., Suite 203                                                  Schedule E/F, line  4.49
             Vancouver, WA 98682-6202
                                                                                            Schedule G
                                                                                         International Pet & Supply



    3.61     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.34
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         David Kelly Austreng



    3.62     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.24
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Christine Shiels



    3.63     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.94
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Shannon Roberts



    3.64     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.31
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Cre8 Wealth, LLC



    3.65     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.3
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Alexandra Vidal



    3.66     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.33
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         David A Torkko, DC




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 9 of 16
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy



                                                   Case 21-32277-thp7    Doc 1     Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                         Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.67     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.56
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Katereena Klein



    3.68     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.53
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Jane Owens



    3.69     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.78
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Philip & Kristie Gold



    3.70     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.93
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Shane Spiess



    3.71     The Finch Farm Co.                                                             Schedule D, line
             5305 NE 121st Ave., Suite 203                                                  Schedule E/F, line   4.37
             Vancouver, WA 98682-6202
                                                                                            Schedule G
                                                                                         Eric & Marla Hansen



    3.72     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.54
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         John E. Aeschliman



    3.73     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line 4.20
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Chabad of Clark County



    3.74     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.97
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Sococo.com




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 10 of 16
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                                                   Case 21-32277-thp7    Doc 1     Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                         Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.75     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line      4.43
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Gusto



    3.76     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line      4.71
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Paychex, Inc.



    3.77     The Finch Farm Co.                                                             Schedule D, line
             5305 NE 121st Ave., Suite 203                                                  Schedule E/F, line     4.99
             Vancouver, WA 98682-6202
                                                                                            Schedule G
                                                                                         Strictly Reptiles, Inc.



    3.78     The Finch Farm Co.                                                             Schedule D, line
             5305 NE 121st Ave., Suite 203                                                  Schedule E/F, line 4.14
             Vancouver, WA 98682-6202
                                                                                            Schedule G
                                                                                         Birdsnow.com / EquineNow.com, LLC



    3.79     The Finch Farm Co.                                                             Schedule D, line
             5305 NE 121st Ave., Suite 203                                                  Schedule E/F, line     4.39
             Vancouver, WA 98682-6202
                                                                                            Schedule G
                                                                                         Fiverr



    3.80     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line      4.81
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Prevue Pet Products



    3.81     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line      4.59
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         L&M Leg Bands



    3.82     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line      4.38
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         FedEx Corporation




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 11 of 16
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy



                                                   Case 21-32277-thp7    Doc 1     Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                         Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.83     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.108
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         USPS Headquarters



    3.84     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.6
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Apple, Inc.



    3.85     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.115
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Zapier, Inc.



    3.86     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line 4.61
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Lee Mar Pet Supplies



    3.87     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.46
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         HP Instant Ink



    3.88     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line  4.5
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Animal Genetics, Inc.



    3.89     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.18
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Boardsi.com



    3.90     The Finch Farm Co.                                                             Schedule D, line
             5305 NE 121st Ave., Suite 203                                                  Schedule E/F, line   4.105
             Vancouver, WA 98682-6202
                                                                                            Schedule G
                                                                                         Uline




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 12 of 16
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                                                   Case 21-32277-thp7    Doc 1     Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                         Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.91     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.41
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Godaddy.com LLC



    3.92     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.101
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Talis US



    3.93     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.17
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Bluezoo Aquatics



    3.94     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line 4.76
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Pet Warehouse & Supplies



    3.95     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.95
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Shutterstock



    3.96     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.58
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         L&M Handwarmers



    3.97     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.113
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Wickr Inc.



    3.98     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.92
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Serpspace




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 13 of 16
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                                                   Case 21-32277-thp7    Doc 1     Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                         Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.99     The Finch Farm Co.                                                            Schedule D, line
             5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.88
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Rocket Lawyer



    3.10     The Finch Farm Co.                                                            Schedule D, line
    0        5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.75
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Pet Supplies, Inc.



    3.10     The Finch Farm Co.                                                            Schedule D, line
    1        5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.98
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Sprout Social



    3.10     The Finch Farm Co.                                                            Schedule D, line
    2        5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line 4.84
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Rewind for Big Commerce



    3.10     The Finch Farm Co.                                                            Schedule D, line
    3        5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.73
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         PayWhirl



    3.10     The Finch Farm Co.                                                            Schedule D, line
    4        5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.114
             Vancouver, WA 98682-6202
                                                                                          Schedule G
                                                                                         Wufoo.com



    3.10     The Finch Farm Co.                                                            Schedule D, line
    5        5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.80
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Podium.com



    3.10     The Finch Farm Co.                                                             Schedule D, line
    6        5305 NE 121st Ave., Suite 203                                                  Schedule E/F, line   4.82
             Vancouver, WA 98682-6202
                                                                                            Schedule G
                                                                                         Privy.com




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 14 of 16
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                                                   Case 21-32277-thp7    Doc 1     Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                         Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.10     The Finch Farm Co.                                                            Schedule D, line
    7        5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.16
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         BLN monday.com



    3.10     The Finch Farm Co.                                                            Schedule D, line
    8        5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.60
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Labuyo USA Corp.



    3.10     The Finch Farm Co.                                                            Schedule D, line
    9        5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.65
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Mark Monaldi



    3.11     The Finch Farm Co.                                                            Schedule D, line
    0        5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.63
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Magnolia Bird Farm



    3.11     The Finch Farm Co.                                                            Schedule D, line
    1        5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line   4.91
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Scottish Fold USA / catsdogs.us



    3.11     The Finch Farm Co.                                                            Schedule D, line
    2        5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.89
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Rolf C. Hagen Co.



    3.11     The Finch Farm Co.                                                             Schedule D, line
    3        5305 NE 121st Ave., Suite 203                                                  Schedule E/F, line 4.96
             Vancouver, WA 98682-6202
                                                                                            Schedule G
                                                                                         Sierra Springs Water Service



    3.11     The Finch Farm Co.                                                            Schedule D, line
    4        5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.68
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         NY Bird Supply




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 15 of 16
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                                                   Case 21-32277-thp7    Doc 1     Filed 11/11/21
 Debtor 1 Shirley Jo Wilson                                                         Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.11     The Finch Farm Co.                                                            Schedule D, line
    5        5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.104
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Twin Beaks Aviary



    3.11     The Finch Farm Co.                                                            Schedule D, line
    6        5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.72
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         PayPal, Inc.



    3.11     The Finch Farm Co.                                                            Schedule D, line
    7        5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    4.70
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Pacific NW Buildings



    3.11     The Finch Farm Co.                                                            Schedule D, line
    8        5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line    2.1
             Vancouver, WA 98682-6202
                                                                                           Schedule G
                                                                                         Clark County



    3.11     The Finch Farm Co.                                                            Schedule D, line
    9        5305 NE 121st Ave., Suite 203                                                 Schedule E/F, line
             Vancouver, WA 98682-6202
                                                                                           Schedule G     2.4
                                                                                         Delta Management




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 16 of 16
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                                                   Case 21-32277-thp7    Doc 1     Filed 11/11/21
Fill in this information to identify your case:

Debtor 1                      Shirley Jo Wilson

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF OREGON-CH.7

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
                                                                      Not employed                               Not employed
       information about additional
       employers.
                                             Occupation            Safety Investigator
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Safety Systems America Inc.

       Occupation may include student        Employer's address
                                                                   123 N. Hayden Bay Dr.
       or homemaker, if it applies.
                                                                   Portland, OR 97217

                                             How long employed there?         7 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $        3,560.00      $               N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      3,560.00            $        N/A




Official Form 106I                                                      Schedule I: Your Income                                                 page 1

                                             Case 21-32277-thp7               Doc 1       Filed 11/11/21
Debtor 1   Shirley Jo Wilson                                                                      Case number (if known)



                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
     Copy line 4 here                                                                      4.         $      3,560.00       $             N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                  5a.        $      1,032.00       $               N/A
     5b.    Mandatory contributions for retirement plans                                   5b.        $          0.00       $               N/A
     5c.    Voluntary contributions for retirement plans                                   5c.        $          0.00       $               N/A
     5d.    Required repayments of retirement fund loans                                   5d.        $          0.00       $               N/A
     5e.    Insurance                                                                      5e.        $          0.00       $               N/A
     5f.    Domestic support obligations                                                   5f.        $          0.00       $               N/A
     5g.    Union dues                                                                     5g.        $          0.00       $               N/A
     5h.    Other deductions. Specify:                                                     5h.+       $          0.00 +     $               N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.     $          1,032.00       $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.     $          2,528.00       $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                            8a.        $        450.00       $               N/A
     8b. Interest and dividends                                                            8b.        $          0.00       $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                           8c.        $              0.00   $               N/A
     8d. Unemployment compensation                                                         8d.        $              0.00   $               N/A
     8e. Social Security                                                                   8e.        $              0.00   $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                       8f.  $                0.00   $                   N/A
     8g. Pension or retirement income                                                      8g. $                 0.00   $                   N/A
     8h. Other monthly income. Specify: Odd jobs                                           8h.+ $              350.00 + $                   N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.     $            800.00       $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $               3,328.00 + $           N/A = $          3,328.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                  0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.   $         3,328.00
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Wages based on average hourly rate ($28.33) based on type of job assignment, and a 29 hour
                             average work week.
                             Self-employment is net and is based on debtor's estimated future average.
                             Odd jobs based on average estimate.




Official Form 106I                                                     Schedule I: Your Income                                                     page 2

                                         Case 21-32277-thp7                 Doc 1         Filed 11/11/21
Fill in this information to identify your case:

Debtor 1                 Shirley Jo Wilson                                                                 Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF OREGON-CH.7                                                    MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            1,295.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                            20.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                             0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1


                                            Case 21-32277-thp7                     Doc 1        Filed 11/11/21
Debtor 1     Shirley Jo Wilson                                                                         Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 125.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 151.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                450.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                100.00
10.   Personal care products and services                                                    10. $                                                  50.00
11.   Medical and dental expenses                                                            11. $                                                  70.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 300.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 100.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    5.00
      15c. Vehicle insurance                                                               15c. $                                                   67.00
      15d. Other insurance. Specify: Vision insurance                                      15d. $                                                   28.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  305.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Personal / miscellaneous                                            21. +$                                                100.00
      Storage fees                                                                                +$                                                57.00
      Pet expenses                                                                                +$                                               100.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       3,323.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       3,323.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               3,328.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              3,323.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                    5.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2


                                            Case 21-32277-thp7                     Doc 1         Filed 11/11/21
 Fill in this information to identify your case:

 Debtor 1                    Shirley Jo Wilson
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF OREGON-CH.7

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Shirley Jo Wilson                                                     X
              Shirley Jo Wilson                                                         Signature of Debtor 2
              Signature of Debtor 1

              Date       11/11/2021                                                     Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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                                                   Case 21-32277-thp7               Doc 1       Filed 11/11/21
 Fill in this information to identify your case:

 Debtor 1                  Shirley Jo Wilson
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              DISTRICT OF OREGON-CH.7

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                lived there                                                                      lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                       $26,686.00           Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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                                                   Case 21-32277-thp7                    Doc 1         Filed 11/11/21
 Debtor 1      Shirley Jo Wilson                                                                           Case number (if known)



                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income         Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.     (before deductions
                                                                                    exclusions)                                              and exclusions)

                                                     Wages, commissions,                          $5,652.00          Wages, commissions,
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For last calendar year:                              Wages, commissions,                       $39,750.00           Wages, commissions,
 (January 1 to December 31, 2020 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                       Operating a business                                           Operating a business


 For the calendar year before that:                   Wages, commissions,                       $52,700.00           Wages, commissions,
 (January 1 to December 31, 2019 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                  Debtor 1                                                         Debtor 2
                                                  Sources of income                 Gross income from              Sources of income         Gross income
                                                  Describe below.                   each source                    Describe below.           (before deductions
                                                                                    (before deductions and                                   and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Receipt of recovery                                         $2,000.00
 the date you filed for bankruptcy:   rebate under the
                                                  Coronavirus Aid,
                                                  Relief, and Economic
                                                  Security Act of 2020

                                                  Interest income from                                $33.00
                                                  2020 tax return

                                                  Sold miscellaneous                                $300.00
                                                  items from storage
                                                  unit

                                                  Sold 2012 Little Guy                            $9,500.00
                                                  Silver Shadow
                                                  teardrop trailer

 For last calendar year:                          Receipt of recovery                             $1,200.00
 (January 1 to December 31, 2020 )                rebate under the
                                                  Coronavirus Aid,
                                                  Relief, and Economic
                                                  Security Act of 2020

                                                  Interest income from                                $26.00
                                                  2019 tax return


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                                                   Case 21-32277-thp7                    Doc 1         Filed 11/11/21
 Debtor 1      Shirley Jo Wilson                                                                           Case number (if known)



 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.
            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe
       Tracey Keller                                            5/15/2021                         $300.00                 $0.00     Payment to friend for
       3007 Borst Ave.                                                                                                              storage of camping trailer
       Centralia, WA 98531


8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
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                                                   Case 21-32277-thp7                    Doc 1         Filed 11/11/21
 Debtor 1      Shirley Jo Wilson                                                                           Case number (if known)



10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                   Value of the
                                                                                                                                                        property
                                                                Explain what happened
       ODR                                                      2020 federal tax refund                                       5/2021 (state            $2,179.00
       PO Box 14725                                                                                                           tax liability
       Salem, OR 97309-5018                                          Property was repossessed.                                satisfied)
                                                                     Property was foreclosed.
                                                                     Property was garnished.

                                                                     Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was             Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                 Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                                                                                  loss                           lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 4
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                                                   Case 21-32277-thp7                    Doc 1         Filed 11/11/21
 Debtor 1      Shirley Jo Wilson                                                                           Case number (if known)



 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Bankruptcy Law Center, LLC                                    Attorney Fees                                            10/25/2021                $3,500.00
       4721 NE 102nd Ave.
       Portland, OR 97220
       ORecf@bankruptcylawctr.com


       Summit Financial Education, Inc.                              Credit counseling course                                 8/13/2021                     $15.00
       4800 E. Flower St.
       Tucson, AZ 85712


       Todd Trierweiler & Associates                                 Court filing fees                                        10/25/2021                  $338.00
       4721 N.E. 102nd Avenue
       Portland, OR 97220


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made
       Todd Trierweiler & Associates                                 Retainer fee paid for assistance with                    6/14/2021 &               $2,772.00
       4721 N.E. 102nd Avenue                                        creditor settlement                                      5/25/2021
       Portland, OR 97220


18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you
       Humane Society of SW Washington                               Donated 2001 Saab 95                       None                            7/23/2021
       1100 NE 192nd Ave.                                            FMV = $700
       Vancouver, WA 98684

       None




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5
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                                                   Case 21-32277-thp7                    Doc 1         Filed 11/11/21
 Debtor 1      Shirley Jo Wilson                                                                           Case number (if known)



       Person Who Received Transfer                                  Description and value of                   Describe any property or     Date transfer was
       Address                                                       property transferred                       payments received or debts   made
                                                                                                                paid in exchange
       Person's relationship to you
       David Austreng                                                37,500 shares of The Finch                 None                         10/2020
       12460 NW Millford                                             Farm Co. stock. It does not
       Portland, OR 97229                                            appear that the transfer has
                                                                     been completed at Mr.
       Friend                                                        Austreng's end. Debtor has
                                                                     not received an updated
                                                                     shares certificate after the
                                                                     transfer was made.
                                                                     FMV Unknown

       Third parties                                                 Debtor sold items from her                 $300                         9/2021 - 10/2021
                                                                     storage unit on Facebook
                                                                     Marketplace and Offer Up.
       None                                                          FMV = $300. Debtor paid
                                                                     bills and living expenses
                                                                     from the proceeds

       Tadimdja Bridges                                              2012 Lil Guy Silver Shadow                 $9,500.                      10/17/2021
       3855 SW 99th Ave.                                             teardrop trailer                           $6,000 deposited to IRA
       Portland, OR 97225                                            FMV $9,500                                 and $3,500 paid the
                                                                                                                balance of attorney fees
       None                                                                                                     to Todd Trierweiler and
                                                                                                                Associates.

       Goodwill                                                      Baseball bats and gloves                   None                         9/2021
                                                                     FMV = $20

       None


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                       Date Transfer was
                                                                                                                                             made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of            Type of account or          Date account was          Last balance
       Address (Number, Street, City, State and ZIP             account number              instrument                  closed, sold,         before closing or
       Code)                                                                                                            moved, or                      transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                            have it?
                                                                     State and ZIP Code)



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 6
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                                                   Case 21-32277-thp7                      Doc 1       Filed 11/11/21
 Debtor 1      Shirley Jo Wilson                                                                                Case number (if known)



22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access                 Describe the contents          Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                    have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

       Mill Plain Heated Storage                                                                                Miscellaneous personal            No
       705 SE Park Crest Ave.                                                                                   property, kitchen items           Yes
       Suite A-100                                                                                              (All items and values are
       Vancouver, WA 98683                                                                                      included on Schedule A/B)


 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                      Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you   Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you   Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case             Status of the
       Case Number                                                   Name                                                                      case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 7
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                                                   Case 21-32277-thp7                       Doc 1           Filed 11/11/21
 Debtor 1      Shirley Jo Wilson                                                                           Case number (if known)



 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                 A member of a limited liability company (LLC) or limited liability partnership (LLP)

                 A partner in a partnership

                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation

             No. None of the above applies. Go to Part 12.

             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                           Describe the nature of the business              Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        The Finch Farm Co.                                      Retail sales and bird keeping.                   EIN:         XX-XXXXXXX
        dba Savvy Pets for Sale                                 Debtor was an officer from
        dba The FinchFarm.com, Inc.                             inception through 8/11/2020 when                 From-To      4/10/2013 - present
        5305 NE 121st Ave., Suite 203                           she resigned.
        Vancouver, WA 98682-6202                                The business appears to have
                                                                closed its doors 10/2021 due to
                                                                the pandemic.

                                                                Ignitespot

        Shirley Jo Wilson                                       No assumed business name.                        EIN:         None
        142 N Hayden Bay Dr.                                    Monitor for HOA company for
        Portland, OR 97217                                      move-ins/-outs and orientations                  From-To      3/2021 - present
                                                                on a contract basis.

                                                                NA

        Shirley Jo Wilson                                       No assumed business name.                        EIN:         None
        142 N Hayden Bay Dr.                                    Part-time delivery driver.
        Portland, OR 97217                                      No longer active.                                From-To      3/19/2021 - 7/9/2021

                                                                NA


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Shirley Jo Wilson
 Shirley Jo Wilson                                                       Signature of Debtor 2
 Signature of Debtor 1

 Date      11/11/2021                                                    Date


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 8
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                                                     Case 21-32277-thp7                  Doc 1         Filed 11/11/21
 Debtor 1      Shirley Jo Wilson                                                                           Case number (if known)



Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 9
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                                                   Case 21-32277-thp7                    Doc 1         Filed 11/11/21
Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:          Liquidation
 This notice is for you if:
                                                                                                  $245       filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $78    administrative fee

        Your debts are primarily consumer debts.                                          +        $15    trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $338       total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                             most taxes;
 chapter.
                                                                                               most student loans;

                                                                                               domestic support and property settlement
                                                                                               obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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                                                   Case 21-32277-thp7            Doc 1        Filed 11/11/21
        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $571    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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                                                   Case 21-32277-thp7            Doc 1           Filed 11/11/21
        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200       filing fee                                                  years or 5 years, depending on your income and other
 +                  $78       administrative fee                                          factors.
                   $278       total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235       filing fee                                                         debts for fraud or defalcation while acting in a
 +                  $78       administrative fee                                                 fiduciary capacity,
                   $313       total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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                                                   Case 21-32277-thp7            Doc 1        Filed 11/11/21
                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/forms/bankruptcy-forms                                           agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
 Bankruptcy crimes have serious consequences                                              days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
        If you knowingly and fraudulently conceal assets                                  Internet.
        or make a false oath or statement under penalty
        of perjury—either orally or in writing—in                                         In addition, after filing a bankruptcy case, you generally
        connection with a bankruptcy case, you may be                                     must complete a financial management instructional
        fined, imprisoned, or both.                                                       course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
        All information you supply in connection with a                                   course.
        bankruptcy case is subject to examination by the
        Attorney General acting through the Office of the                                 You can obtain the list of agencies approved to provide
        U.S. Trustee, the Office of the U.S. Attorney, and                                both the briefing and the instructional course from:
        other offices and employees of the U.S.                                           http://www.uscourts.gov/services-forms/bankruptcy/cre
        Department of Justice.                                                            dit-counseling-and-debtor-education-courses.

 Make sure the court has your mailing address                                             In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
 The bankruptcy court sends notices to the mailing                                        dit-counseling-and-debtor-education-courses.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




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                                                   Case 21-32277-thp7            Doc 1        Filed 11/11/21
                                                               United States Bankruptcy Court
                                                                     District of Oregon-Ch.7
 In re      Shirley Jo Wilson                                                                          Case No.
                                                                                Debtor(s)              Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: 11/11/2021                                                    /s/ Shirley Jo Wilson
                                                                     Shirley Jo Wilson
                                                                     Signature of Debtor




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                                                   Case 21-32277-thp7            Doc 1       Filed 11/11/21
